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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 WILLIAM KITCHEN, III,

        Plaintiff,
                                                                      Case No. 1:17-cv-371
 v.
                                                                      HON. JANET T. NEFF
 DAVE LEACH, et al.,

        Defendants.
 ____________________________/


                                             ORDER

       This is a civil rights action brought by a state prisoner pursuant to 42 U.S.C. § 1983.

Defendant Dave Leach filed a motion for summary judgment. The matter was referred to the

Magistrate Judge, who issued a Report and Recommendation on July 31, 2018, recommending

that this Court grant in part and deny in part the motion. The Report and Recommendation was

duly served on the parties. No objections have been filed. See 28 U.S.C. § 636(b)(1). Therefore,

       IT IS HEREBY ORDERED that the Report and Recommendation (ECF No. 59) is

APPROVED and ADOPTED as the Opinion of the Court.

       IT IS FURTHER ORDERED that the Motion for Summary Judgment (ECF No. 56) is

GRANTED IN PART AND DENIED IN PART for the reasons stated in the Report and

Recommendation; specifically, the motion for summary judgment is denied, but Plaintiff is

expressly warned that if he again refuses, without good cause, to participate in his deposition, then

his remaining claims may be dismissed for refusal to participate in discovery and refusal to comply

with the Court’s orders.
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       IT IS FURTHER ORDERED that Defendant may, not later than October 29, 2018,

depose Plaintiff.

       IT IS FURTHER ORDERED that Defendant’s request for costs is DENIED for the

reasons stated in the Report and Recommendation.




Dated: August 29, 2018                               /s/ Janet T. Neff
                                                   JANET T. NEFF
                                                   United States District Judge




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